Case 3:17-cv-00939-WHA Document 2510-23 Filed 01/19/18 Page 1 of 2




                EXHIBIT 51
     Case 3:17-cv-00939-WHA Document 2510-23 Filed 01/19/18 Page 2 of 2


From:                Gonzalez, Arturo J.
To:                  James Judah
Cc:                  UberWaymoMoFoAttorneys; BSF_EXTERNAL_UberWaymoLit; John Cooper; Matthew Cate; QE-Waymo
Subject:             Waymo v Uber - Rhian Morgan Deposition
Date:                Sunday, November 19, 2017 8:31:32 PM


9:00 a.m. Tuesday, limited to the receipts.

Sent from my iPad

On Nov 17, 2017, at 5:54 PM, James Judah <jamesjudah@quinnemanuel.com> wrote:


       - External Email -


       Counsel –

       Is Ms. Morgan available for a continued deposition on Tuesday, November 21? We can
       agree to limit to 60 minutes, but cannot in advance agree to a 30 minute time limit.

       Please let us know as soon as possible so that we can make the necessary
       arrangements. To the extent Ms. Morgan is not available on Tuesday, please let us
       know her availability on Wednesday morning.

       Waymo reserves all rights regarding Uber’s untimely production of the Shred Works
       receipts.

       Best,
       James


       James Judah
       Associate,
       Quinn Emanuel Urquhart & Sullivan, LLP

       50 California Street, 22nd Floor
       San Francisco, CA 94111
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